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     CITY AND COUNTY OF SAN FRANCISCO
 9   (Including SAN FRANCISCO DEPARTMENT OF BUILDING
     INSPECTION, SAN FRANCISCO BUILDING
10   INSPECTION COMMISSION, and
     SAN FRANCISCO PLANNING DEPARTMENT)
11

12                                 UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14                                        OAKLAND DIVISION
15    REGAN CARROLL TRUST, Regan                     Case No. C-07-2577 SBA
      Carroll, Trustee,
16                                                   ORDER GRANTING CITY'S
                    Plaintiff,                       MOTION TO DISMISS FIRST
17                                                   AMENDED COMPLAINT FOR LACK
             vs.                                     OF JURISDICTION AND FAILURE
18                                                   TO STATE A CLAIM, AND TO
      CITY AND COUNTY OF SAN                         STRIKE THIRD COUNT
19    FRANCISCO, SAN FRANCISCO
      DEPARTMENT OF BUILDING
20    INSPECTION, SAN FRANCISCO                      Hearing Date:     February 5, 2008
      BUILDING INSPECTION                            Time:             1:00 p.m.
21    COMMISSION, and SAN FRANCISCO                  Place:            Courtroom 3, 3rd Floor
      PLANNING DEPARTMENT,
22                                                   Trial Date:       TBA
                    Defendants.
23

24

25          Defendant City and County of San Francisco's (sued herein as the City and County of San
26   Francisco, San Francisco Department of Building Inspection, San Francisco Building Inspection
27   Commission, and San Francisco Planning Department; collectively "City") motion to dismiss the
28   First Amended Complaint ("Complaint") pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules
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 1   of Procedure came on before this Court, Andrea Rosenthal appearing for plaintiff, and Kristen A.
 2   Jensen, Deputy City Attorney, appearing for Defendants. Having read and considered the arguments
 3   presented by the parties in their papers at the hearing and all other matters presented to the Court, the
 4   Court hereby GRANTS Defendants' Motion to Dismiss, GRANTS the motion to strike the Third
 5   Count of the Complaint and GRANTS the Defendants' request for judicial notice.
 6                                                Rule 12(b)(6)

 7          To prevail on its claims under §1983, Plaintiff must show that “(1) acts by the defendants (2)
 8   under color of state law (3) depriv[ed][it] of federal rights, privileges or immunities [and] (4)
 9   caus[ed][it] damage.” Thornton v. City of St. Helens, 425 F.3d 1158, 1163-64 (9th Cir. 2005)(citing
10   Shoshone-Bannock Tribes v. Idaho Fish & Game Comm’n, 42 F.3d 1278, 1284 (9th Cir. 1994)).
11   Section 1983 ‘“is not itself a source of substantive rights,’ but merely provides ‘a method for
12   vindicating federal rights elsewhere conferred.’” Id. Accordingly, Plaintiff must establish that the
13   City’s alleged actions deprived it of some right, privilege or immunity protected by the Constitution
14   or laws of the United States. Plaintiff has failed to allege such a deprivation, and the §1983 claims
15   must therefore fail.
16          The federal courts have repeatedly recognized that a local agency's compliance with its own
17   land use regulations does not present an interest protected under § 1983. These cases take the view
18   that local zoning and land use disputes represent an area "upon which the federal courts ought not to
19   enter unless no alternative to its adjudication is open." Rancho Palos Verdes Corp. v. City of Laguna
20   Beach, 547 F.2d 1092, 1094 (9th Cir. 1976). Cf, San Remo Hotel v. City and County of San
21   Francisco, 145 F.3d 1095, 1105 (9th Cir. 1998)(9th Circuit has "consistently held that land use
22   planning is a sensitive area of social policy that meets the first requirement for Pullman abstention"
23   (citations omitted).) With this in mind, the Court reviews this dispute concerning a disappointed
24   building permit applicant.
25          Federal courts were not created to be "the Grand Mufti of local zoning boards," Hoehne v.
26   County of San Benito, 870 F.2d 529, 532 (9th Cir. 1989), nor do they “sit as [ ] super zoning board[s]
27   or [ ] zoning board[s] of appeals.” Raskiewicz v. Town of New Boston, 754 F.2d 38, 44 (1st Cir.), cert.
28   denied, 474 U.S. 845 (1985). "While the Supreme Court has yet to provide precise analysis
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 1   concerning claims of this sort, we feel confident that where, as here, the state offers a panoply of
 2   administrative and judicial remedies, litigants may not ordinarily obtain federal court review of local
 3   zoning and planning disputes by means of 42 U.S.C. §1983." Id. Resort to §1983 to resolve such
 4   inherently local disputes is, therefore, disfavored, and the courts have specifically rejected attempts
 5   like the one at bar to create a constitutional question out of a local agency's decision on a
 6   development application. Chiplin Enterprises, Inc. v. City of Lebanon, 712 F.2d 1524, 1528 (1st Cir.
 7   1983) (where planning board, after granting preliminary approval to a development project, denied a
 8   building permit for the project, court found that "[a] mere bad faith refusal to follow state law in such
 9   local administrative matters simply does not amount to a deprivation of due process where the state
10   courts are available to the correct error"); Chongris v. Board of Appeals of Town of Andover, 811
11   F.2d 36, 42-43 (1st Cir.), cert. denied, 483 U.S. 1021 (1987); Sucesion Suarez v. Gelabert, 701 F.2d
12   231, 233 (1st Cir. 1983); Creative Environments v. Estabrook, 680 F.2d 822, 829-30, 832 n. 9 (1st
13   Cir.), cert. denied, 459 U.S. 989 (1982)("[P]roperty is not denied without due process simply because
14   a local planning board rejects a proposed development for erroneous reasons or makes demands
15   which arguably exceed its authority under the relevant state statutes."); Couf v. DeBlaker, 652 F.2d
16   585, 590 n. 11 (5th Cir. 1981), cert. denied, 455 U.S. 921 (1982). In these cases, "[e]ven where state
17   officials have allegedly violated state law or administrative procedures, such violations do not
18   ordinarily rise to the level of a constitutional deprivation." PFZ Properties, Inc., v. Rodriguez, 928
19   F.2d 28, 31, (1st Cir. 1991), cert. granted 502 U.S. 956, cert. denied as improvidently granted, 503
20   U.S. 257 (1992).
21           The present case presents an inherently local dispute whose resolution turns on the
22   interpretation of state, rather than federal law. Plaintiff has failed to state a claim implicating federal
23   statutory or constitutional rights.
24                                               Equal Protection

25           In order to establish a class-of-one equal protection violation based upon the alleged
26   discriminatory application of a facially nondiscriminatory law, in a case that does not involve a
27   suspect class or a fundamental right, a plaintiff must prove that (1) it was treated differently from
28   persons or entities similarly situated; (2) the unequal treatment was intentional; and (3) the unequal
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 1   treatment was not rationally related to a legitimate government purpose. Village of Willowbrook v.
 2   Olech, 528 U.S. 562 (2000) (per curiam). In fact, the Planning Code sections cited in support of the
 3   City's refusal to issue the requested building permit are facially nondiscriminatory, and the Complaint
 4   provides no facts from which the Court may conclude that the Plaintiff was singled out for unequal
 5   treatment by the Defendants. As a result, the Court must apply the highly deferential rationality
 6   standard to determine whether the City's actions withstand judicial scrutiny. See Armendariz v.
 7   Penman, 75 F.3d 1311, 1326 n. 11 (9th Cir. 1996). The record before the Court establishes that the
 8   City's actions were, in fact, rationally related to the City's interest in upholding its Planning and
 9   Building Codes.
10          California law is well settled that building projects must comply with the local law in effect at
11   the time of permit issuance. Wells Fargo Bank v. Town of Woodside, 33 Cal.3d 379 (1983); Selby
12   Realty Co. v. City of San Buenaventura, 10 Cal.3d 110 (1973); Russian Hill Improvement Assoc. v.
13   Board of Permit Appeals, 66 Cal.2d 34 (1967). "[E]ven a permit which [has] achieved administrative
14   finality can be revoked on the basis of a subsequent change in the zoning laws." West Coast
15   Advertising v. City and County of San Francisco, 256 Cal.App.2d 357, 360 (1967). This concept has
16   been specifically applied to the decisions of San Francisco's Board of Appeals which, "in its de novo
17   review is bound to apply the zoning ordinances in effect at the time of its final decision, not those in
18   force at the time of preliminary proceedings before any subordinate agency." Russian Hill
19   Improvement Assn., 66 Cal.3d at 46. As a result, the City's decision makers were required to apply
20   the Planning Code, as amended, to the Plaintiff's project at the time of their respective reviews of the
21   Application. If the permit had been issued without the required Planning Code review, the permit
22   would have been invalid as a matter of law. S.F. Building Code § 106.4.3; Land Waste Management,
23   supra, 222 Cal.App. 3d at 958.
24          Similarly, this court must apply the law in existence at the time of the present decision, rather
25   than at the time that a permit is issued or denied. Wells Fargo Bank, 33 Cal.3d at 385; Selby Realty
26   Co., 10 Cal.3d at 110.
27                  It is the prevailing rule that a reviewing court will apply the law in existence at
                    the time of its decision rather than at the time the permit was denied. [cite.]
28                  The purpose of this rule is to prevent an appellate court from issuing orders for
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                    the construction of improvements contrary to presently existing legislative
 1                  provisions. [Cite.] Indeed, even after a permit has been issued, it may be
                    revoked by an administrative body on the basis of a subsequent change in the
 2                  zoning laws unless the permitee has made substantial improvements in good
                    faith reliance on the permit.
 3

 4   Selby Realty Co., 10 Cal.3d at 110. Where, as here, no permit has issued, there can be no substantial

 5   reliance thereon to shield the Plaintiff from the prevailing rule. West Coast Advertising, 256

 6   Cal.App.2d at 360. Nor can Plaintiff satisfy the only recognized exception to the rule, which is

 7   limited to cases where a subsequent ordinance is enacted with the specific purpose of frustrating the

 8   developer's plan. See Selby Realty Co., 10 Cal.3d at 126, fn. 11. As a result, Plaintiff is not entitled

 9   to issuance of the permit he seeks as a matter of law.
                                               Unlawful Delegation
10

11           Plaintiff relies on the case of Schulz v. Milne, 849 F.Supp. 708 (N.C. Cal. 1994) for the

12   proposition that conduct of the Planning Department constituted an unlawful delegation of power to a

13   private body. [Complaint at ¶ 5.] The facts alleged in the Complaint are distinguishable from those

14   presented in that case. In the Schulz case, the plaintiffs alleged that the City had delegated authority

15   to review project plans and approve permit applications to a neighborhood review board by adoption

16   of a resolution of the Planning Commission. Id. at 710, 712-13. Pursuant to that delegation, the city

17   repeatedly required them to submit plans to the board and informed them that they would have to

18   "satisfy" the board before the city would take any action on the permit application. Id. at 712. The

19   court concluded that, for purposes of a motion to dismiss, the Schulz's had alleged enough facts to

20   create an inference that the city had unlawfully delegated its decision-making authority to the board.

21   Id. at 713.

22           In the present case, Plaintiff does not allege that the City adopted any resolution or ordinance

23   requiring review and approval by the Dogpatch Neighborhood association, or that the City ever

24   required the Plaintiff to submit to such a review. Rather, the complaint suggests t that the City had

25   directed a previous owner to "review the project" with the association. After initial discussions

26   between the Plaintiff and the neighborhood association, the building permit application was

27   apparently processed with no further input from the association for the next four years, during which

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 1   the City reviewed and approved various aspects of the Application, the project was revised, and
 2   various approvals were given by the City.
 3          During that same period, the Planning Code was revised to designate the Dogpatch
 4   Neighborhood as an historic district, and to require that all projects in that neighborhood be submitted
 5   to review by the Planning Department for consistency with the provisions of the code applicable to
 6   such districts. The Complaint concedes that the neighborhood was designated as an historic district,
 7   but characterizes the City's application of the Planning Code provisions in effect in 2005 as
 8   "unreasonable, arbitrary, and capricious conduct, without any rational basis", inferring that the City
 9   enforced the law in existence at that time "by order of [the association]." These allegations are
10   insufficient to establish even an inference that the City merely "rubber-stamped" the decisions of the
11   neighborhood association. Rather, the allegations make plain that the neighborhood association did
12   not interfere in any way with the City's determination of the merits of Plaintiff's Application, and in
13   fact did not express any views as to the Application at all after June of 2001.
14          As in the case of Kay v. Placer County, 219 Fed.Appx. 679 (9th Cir. 2007)1, Plaintiff has
15   failed to convert this local land use dispute into a federal claim by alleging unlawful delegation. "The
16   extent to which state actors may delegate government functions is, in the first instance, a question of
17   state law. Even if federal law is implicated, the complaint does no more than state the legal
18   conclusion that an unlawful delegation occurred. That conclusion is contradicted by the facts alleged
19   in the complaint," which indicate that the City did not delegate its decision-making authority to the
20   Dogpatch Neighborhood Association. Id. at 681. Rather, the Complaint confirms that the City, and
21   not the neighborhood association, reviewed and approved various aspects of Plaintiff's Application
22   over the period from 1999-2005.
23                                           Statute of Limitations

24          Both the first and second count of the Complaint rely on the City's alleged "unlawful
25   delegation" of authority to the Dogpatch Neighborhood Association as a basis for relief under §1983.
26
            1
              Pursuant to Federal Rule of App. Proc. 32.1 and Ninth Circuit Rule 36-3, a copy of that
27   decision is attached hereto.
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 1   However, the only act of delegation alleged in the Complaint is the Planning Department's alleged
 2   refusal to deem Plaintiff's application "complete" until the association had "approved" the project.
 3   The Complaint does not allege that the City directed Plaintiff to seek approval from the association.
 4   Rather, the only City conduct alleged in support of the delegation theory is that "Planning refused to
 5   determine whether the Application was complete unless DNA approved it." However, the Complaint
 6   also alleges that "[t]he Application was finally determined to be complete by Planning in June 2001."
 7   Thus, according to the Complaint, the final act reflecting the alleged delegation occurred in June
 8   2001. Accordingly, the statute of limitations on these claims ran in June, 2002.
 9          “For actions under 42 U.S.C. § 1983, courts apply the forum state's statute of limitations for
10   personal injury actions....” Wilson v. Garcia, 471 U.S. 261,271-72, 276, (1985); Jones v. Blanas 393
11   F.3d 918, 927 (9th Cir. 2004). In June of 2002, the statute of limitations for personal injury actions
12   was 1 year. See former Code of Civil Proc. §340. On January 1,2003, Code of Civil Procedure
13   § 335.1 became law, extending the prior limitations period applicable to personal injury actions (and
14   correspondingly to federal civil rights claims) from one year to two years. See Cal. Code Civ.Proc.
15   § 335.1. Plaintiff does not benefit from this new two-year statute of limitations. Rather, since its
16   claims herein accrued before January 1, 2003, the one-year statute governs. See Krusesky v. Baugh,
17   138 Cal.App.3d 562, 188 Cal.Rptr. 57, (1982) (“[S]tatute[s] [are] presumed to be prospective only
18   and will not be applied retroactively unless such intention clearly applies in the language of the
19   statute itself.”); see also Landgraf v. USI Film Products, 511 U.S. 244, 265-66 (1994) (“[T]he
20   ‘principle that the legal effect of conduct should ordinarily be assessed under the law that existed
21   when the conduct took place has timeless and universal appeal.’”).
22          Even if Plaintiff could establish prohibited delegation of authority under Schulz, its claims are
23   time-barred.
24                                                    Res Judicata

25          In order to challenge a decision of an administrative agency, a plaintiff must demonstrate that
26   he has exhausted all available administrative procedures – including all available administrative
27   appeals of an agency's decision. Coachella Valley Mosquito & Vector Control Dist. v. California
28   Public Employment Relations Bd., 35 Cal.4th 1072, 1080 (2005). "In brief, the rule is that where an
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 1   administrative remedy is provided by statute, relief must be sought from the administrative body and
 2   this remedy exhausted before the courts will act." Abelleira v. District Court of Appeal, 17 Cal.2d
 3   280, 292 (1941). In addition to exhausting administrative remedies, a plaintiff must also exhaust
 4   judicial remedies. "[J]udicial review of any decision of a local agency . . . may be had pursuant to
 5   Code of Civil Procedure section 1094.5, only if the petition for writ of mandate pursuant to such
 6   section is filed . . . not later than the 90th day following the date on which the decision becomes
 7   final." Code Civ. Proc. § 1094.6, subd. (b). The California Supreme Court has held that "unless a
 8   party to a quasi-judicial proceeding challenges the agency’s adverse findings made in that proceeding,
 9   by means of a mandate action in superior court, those findings are binding in later civil actions.”
10   Johnson v. City of Loma Linda (2000) 24 Cal.4th 61, 69-70. "Exhaustion of judicial remedies . . .is
11   necessary to avoid giving binding effect to the administrative agency's decision, because the decision
12   has achieved finality due to the aggrieved party's failure to pursue the exclusive remedy for reviewing
13   administrative action." Ibid.; see also City and County of San Francisco v. Ang (1979) 97
14   Cal.App.3d 673, 677 – 679.
15          In this case, Plaintiff filed and then dismissed a writ action in the Superior Court challenging
16   the City's refusal to issue the requested permit. Having failed to see the writ proceeding to a
17   conclusion on the merits, Plaintiff has failed to exhaust state judicial remedies for the conduct
18   complained of here. Moreover, Plaintiff is now barred by state law from refiling such claims in the
19   Superior Court. Cal. Gov't Code §65009. As a result, Plaintiff cannot cure this defect.
20                                                  Ripeness

21          Finally, to the extent that any of Plaintiff's claims are deemed to challenge the City's refusal to
22   issue a building permit (rather than the alleged unlawful delegation to a neighborhood association),
23   such claims are unripe for adjudication. Suits for equal protection are subject to the requirement that
24   the decision be ripe for review. In the context of equal protection claims stemming from the
25   regulation of land use, this requirement includes a final decision by the relevant government
26   authority. Hoehne v. County of San Benito, 870 F.2d 529, 532 (9th Cir. 1989).
27                  In suits for wrongful deprivation of property under 42 U.S.C. § 1983, the same
                    considerations that render a claim premature prevent accrual of a claim for
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                    limitations purposes, and the claim does not accrue until the relevant
 1                  governmental authorities have made a final decision on the fate of the property.
 2
     Norco Constr. Co. v King County, 801 F.2d 1143, 1145 (9th Cir. 1986); McMillan v. Goleta Water
 3
     District, 792 F.2d 1453 (9th Cir. 1986). The "basic rationale" of the ripeness requirement "is to
 4
     prevent the courts, through avoidance of premature adjudication, from entangling themselves in
 5
     abstract disagreements over administrative policies, and also to protect the agencies from judicial
 6
     interference until an administrative decision has been formalized and its effects felt in a concrete way
 7
     by the challenging parties." Abbott Laboratories v. Gardner, 387 U.S. 136, 148-149 (1967). The
 8
     Ninth Circuit has emphasized the heavy burden placed on plaintiffs seeking to establish constitutional
 9
     violations in the context of land use decisions to establish that a final decision has been reached by
10
     the administrative agency. Hoehne, supra, 870 F.2d at 532-33.
11
            In this case, the City has not issued a final decision on issuance of a building permit to
12
     Plaintiff. In fact, such a decision was continued—at Plaintiff's request—until August 2008. Since the
13
     City has not rendered a final decision as to Plaintiff's building application, any claims based on the
14
     City's conduct with respect to such application are not ripe for review under §1983.
15
                                                    Motion to Strike
16
            In addition, the City requests that the Court strike the Third Count of the Complaint on the
17
     ground that Plaintiff failed to request leave of court prior to filing this supplemental pleading, which
18
     sets forth claims premised on conduct alleged to have occurred since the initiation of this action.
19
     Such failure violates Rule of Civil Procedure 15(d), and thus renders the Complaint subject to motion
20
     to strike pursuant to Rule 12(f).
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 1          For all the reasons set forth above, IT IS HEREBY ORDERED THAT Defendants' Motion to
 2   Dismiss is GRANTED. The Court hereby DISMISSES Plaintiff's Complaint for Injunctive Relief and
 3   Damages for Violation of Civil Rights. Because amendment would be futile, Plaintiff's federal claims
 4   are DISMISSED WITH PREJUDICE.
 5   Dated: 9/30/08
 6                                               _____________________________
                                                       Saundra B. Armstrong
 7                                               United States District Judge
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